Exhibit 3
                          ST. LOUIS COUNTY PORT AUTHORITY
                                      7733 FORSYTH BLVD., SUITE   22OO
                                           ST. LOUIS, MO 63105


                                                July 31,2019

The Honorable Catherine D. Perry
U.S. District Court for the Eastern District of Missouri
111 South 10th Street
St. Louis, MO 53102


        United States of America v. Steven V. Stenger, Cause No. 4:19CR312
        United States of America v. Sheila A. Sweeney, Cause No. 4:1-9CR375

Dear Judge Perry:


ln accordance with pleas entered by Steven V. Stenger and Sheila A. Sweeney, the defendants in the
above referenced cases (together, the "Defendants"), the St. Louis County Port Authority (the "Port
Authority") is a victim of crimes committed by Defendants. Please accept this letter as a statement on
behalf of the Port Authority under 18 U.S.C. S 3771.

The Port Authority is a political subdivision formed in 1978 under Chapter 58, Revised Statutes of
Missouri. The Port Authority's Board of Commissioners is appointed by St. Louis County, Missouri. The
Port Authority, which is managed by the St. Louis Economic Development Partnership, administers a
budget in excess S5,000,000 annually. At all times covered by the guilty pleas of Defendants, the Port
Authority's Board of Commissioners was appointed by and under the control of Stenger, and Sweeney
acted as Executive Director of the Port Authority.

The corruption scheme the Defendants devised and executed, as described in their guilty pleas, caused
substantial direct financial loss to the Port Authority, including the following:

    a   A fraudulent contract between the Port Authority and Cardinal Creative Consulting               was
        executed at the direction of Stenger and Sweeney in the amount of 5130,000, for which the Port
        Authority derived no benefit.
    a   Other contracts that produced little or no benefit were awarded to private parties at the
        direction of Stenger and Sweeney outside of normal Port Authority policies and procedures.
        While still under investigation, the cost to the Port Authority of such contracts producing little or
        no public benefit is as much as and potentially more than 5399,000.
    a   More than 57,000,000 of unnecessary and ill-conceived grants of Port Authority funds were
        awarded to various public and private parties at the direction of Stenger and Sweeney outside of
        normal Port Authority policies and procedures; more than 52,000,000 of such grants are being
        honored for legal reasons while 55,000,000 of such grants have been cancelled to mitigate the
        Port Authority's damages, albeit at substantial reputational cost to the Port Authority.
    a   Outside consulting, Iegal and audit/accounting contracts and fees to investigate and review Port
        Authority operations during the Stenger and Sweeney administrations have been entered into
        and incurred, currently in excess of S250,000.
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The impact to the Port Authority's normal operations of Defendant's corruption scheme has also been
significant. As a result of action by the County Council in response to the growing evidence of possible
malfeasance      by Stenger and Sweeney, the Port Authority effectively ceased all operations               and
expenditures of funds between June 2018 and April 2019, when Stenger resigned as County Executive.
The following are examples of Port Authority operations and legal obligations that were delayed or
impeded during the shutdown:

    .      The renewal, extension or payment of legitimate community reinvestment grants to other
           organizations that relied upon such grants, including grants to Great Streets Natural Bridge
           Community Development Corp.; Lemay Housing Partnership; UAW Labor Employment Training
           Corp.; The Housing Partnership; NCADA Prevention First; Lemay Child & Family Center; and
           Afft on Athletic Association.
    o      The management of a port authority improvement district and a foreign trade zone within the
           port district, as described in Chapter 58, RSMo.
    o      Consideration of temporary and permanent easement requests for the Metropolitan Sewer
           District.
    .      The purchase and sale of material real estate assets on behalf of St. Louis County and others.
    o      The redevelopment of the former Jamestown Mall.
    o      Completion of a major streetscape and stormwater drainage project in Lemay.
    o      The regular maintenance and management of Port Authority owned property, which                   has
           resulted in numerous code citations and unsafe conditions.
    o      All other critical economic development activities ordinarily performed by the Port Authority.

The Port Authority has also suffered severe reputational damage as a result of Defendants'corruption
scheme, which will hinder its ability to perform its mission now and in the future. The Port Authority's
ability to effectively operate within St. Louis County and to attract local, state and federalfunding for its
projects is in large part dependent upon its credibility, and Defendants' conduct has immeasurably
injured the public's trust and perception of the Port Authority. Because the Port Authority was central
to the Defendants' schemes, it is impossible to estimate the time, effort and money that will be required
to eliminate the taint of Defendants'crimes and restore its previously outstanding reputation within the
community.

Finally,   the Port Authority continues to be directly impacted by the damage done to the St. Louis
Economic Development Partnership, as it has historically relied entirely upon the Partnership for staffing
and leadership. As a result, allof the damage and impacttothe Partnership has resulted in an indirect,
but equally material, impact to the Port Authority. ln late June 2019, the newly appointed Board of
Commissioners commenced a detailed review of the records and operations of the Port Authority during
the approximately 4-year tenures of Stenger and Sweeney. Thus, the Port Authority is engaged in an
ongoing process to determine the impact of the Defendants'crimes on the Port Authority.

We appreciate the opportunity to provide this information for your consideration.

Sincerely,

The Board of Commissioners of the St. Louis County port Authority
